       Case 4:19-cv-07123-PJH       Document 490   Filed 12/19/24    Page 1 of 3




 1   Greg D. Andres
     Antonio J. Perez-Marques
 2   Gina Cora
 3   Craig T. Cagney
     Luca Marzorati
 4     (admitted pro hac vice)
     DAVIS POLK & WARDWELL LLP
 5   450 Lexington Avenue
     New York, New York 10017
 6
     Telephone: (212) 450-4000
 7   Facsimile: (212) 701-5800
     Email: greg.andres@davispolk.com
 8            antonio.perez@davispolk.com
              gina.cora@davispolk.com
 9            craig.cagney@davispolk.com
              luca.marzorati@davispolk.com
10
     Micah G. Block (SBN 270712)
11
     DAVIS POLK & WARDWELL LLP
12   900 Middlefield Road
     Redwood City, California 94063
13   Telephone: (650) 752-2000
     Facsimile: (650) 752-2111
14   Email: micah.block@davispolk.com
15   Attorneys for Plaintiffs WhatsApp LLC and
     Meta Platforms, Inc.
16

17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                      OAKLAND DIVISION
20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
22                    Plaintiffs,       )          ADMINISTRATIVE MOTION TO
                                        )          CONSIDER WHETHER ANOTHER
23           v.                         )          PARTY’S MATERIAL SHOULD BE
                                        )          FILED UNDER SEAL
24    NSO GROUP TECHNOLOGIES LIMITED )
25    and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
                                        )          Judge: Hon. Phyllis J. Hamilton
                                        )
26                    Defendants.       )
                                        )
27                                      )          Action Filed: October 29, 2019

28
       Case 4:19-cv-07123-PJH           Document 490         Filed 12/19/24     Page 2 of 3




 1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) move the Court to

 4   consider whether Plaintiffs’ Notice of Motion and Motion to Strike the Second Supplemental Rebut-

 5   tal Expert Report of Gregory A. Pinsonneault (“Motion to Strike”) and certain exhibits to the Decla-

 6   ration of Luca Marzorati in Support of the Motion to Strike (“Marzorati Declaration”) thereto should

 7   be sealed.

 8          The Confidential Materials contain, refer to, or derive from, documents that Defendants have

 9   designated as Confidential or Highly Confidential-Attorneys’ Eyes Only pursuant to the Stipulated

10   Protective Order (Dkt. No. 132) in the above-captioned action. Accordingly, Plaintiffs now move

11   the Court to consider whether the Confidential Materials should be sealed. See N.D. Cal. Civil L.R.

12   79-5(f). See N.D. Cal. Civil L.R. 79-5(f). Plaintiffs reserve the right to challenge any confidentiality

13   designations as well as the sealability of the materials at issue.

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                         1
     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH        Document 490          Filed 12/19/24    Page 3 of 3




 1    Dated: December 19, 2024                   Respectfully Submitted,

 2
                                                 DAVIS POLK & WARDWELL LLP
 3

 4                                               By: /s/ Luca Marzorati
                                                     Luca Marzorati
 5

 6                                                       Greg D. Andres
                                                         Antonio J. Perez-Marques
 7                                                       Craig T. Cagney
                                                         Gina Cora
 8                                                       Luca Marzorati
 9                                                        (admitted pro hac vice)
                                                         DAVIS POLK & WARDWELL LLP
10                                                       450 Lexington Avenue
                                                         New York, New York 10017
11                                                       Telephone: (212) 450-4000
                                                         Facsimile: (212) 701-5800
12                                                       Email: greg.andres@davispolk.com
13                                                              antonio.perez@davispolk.com
                                                                craig.cagney@davispolk.com
14                                                              gina.cora@davispolk.com
                                                                luca.marzorati@davispolk.com
15
                                                         Micah G. Block (SBN 270712)
16                                                       DAVIS POLK & WARDWELL LLP
17                                                       900 Middlefield Road
                                                         Redwood City, California 94063
18                                                       Telephone: (650) 752-2000
                                                         Facsimile: (650) 752-2111
19                                                       Email: micah.block@davispolk.com
20

21                                                       Attorneys for Plaintiffs WhatsApp LLC and
                                                         Meta Platforms, Inc.
22

23

24

25

26

27

28
                                                     2
     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
